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I-Wall Material Test Results


       The COE sampled sections of the east and west sides of the IHNC flood walls
and tested the concrete, sheetpile and rebar for strength. The location of these
materials tested on the west side was described as on “the west side of France Rd.
near France Road Parkway.” (IPET: V-App.16). The I-Wall section sampled for concrete
was located at approximately Station 0+44 and was labeled IPET-WE-EW 0+44. While
the rebar was taken from the I-Wall at about Station 2+00, no specific information was
provided for the sheetpile. The samples taken from the east side were located between
North Claiborne Ave. and Florida Ave., and the concrete cores were identified as IPET-
IHNC-E 20+40 (IPET: V-App.16).

I-Wall Concrete


       The strength results from testing 5 5/8 in. core samples is provided in Table 2.1. It
is clear from the concrete test results that the strength levels differed from the east side
and west side cores, with average strengths of 3,937 psi and 5,907 psi, respectively,
with an overall average of 4,922 psi. GDM3 for the Chalmette Area called for a
minimum concrete compressive strength of 3,000 psi.


Rebar Steel

       In Table 2.2, the tensile test results for the rebar specimen have been
summarized. The bar sizes tested ranged from No. 4 to No. 7. For the No. 6 rebar from
the IHNC west I-Wall, failure was noted along small welds. However, other than a
generally stiffer material response, the tensile results seem to be in line with the other
tested reinforcing steel. The yield and tensile strengths for the rebar samples ranged
from 46 to 65.8 ksi (55.4 ksi ave. and 55.1 ksi without noted weld failures) and from 74
to 105.2 ksi (86.5 ksi ave. and 86.5 ksi without weld failures), respectively. Measured
failure strains in the steel ranged from 5.2 to 19.9% (11.6% ave. and 13.1% without




                                           2-29
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TABLE 2.1 CONCRETE COMPRESSIVE STRENGTH RESULTS FROM CORES FOR
          IHNC I-WALL



                SAMPLE LOCATION                    COMPRESSIVE STRENGTH
                    IHNC-W 0+44                           5220 psi
                    IHNC-W 0+44                           5850 psi
                    IHNC-W 0+44                           6650 psi
                   IHNC-E 20+40                           3910 psi
                   IHNC-E 20+40                           3850 psi
                   IHNC-E 20+40                           4050 psi

Note: Load-deflection curves were not provided




Source: IPET:V-App. 6




                                            2-30
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TABLE 2.2 RESULTS FROM TENSILE TESTS ON REBAR SPECIMEN FROM I-WALL
          CONCRETE ALONG IHNC



   SAMPLE          BAR        YIELD   TENSILE            FAILURE    FAILURE
  LOCATION         SIZE     STRENGTH STRENGTH           STRENGTH    MODULUS

IHNC-W-2+00           4      48,500 psi   79,000 psi     14.12%    559,490 psi

IHNC-W-2+00           4      51,000 psi   81,000 psi     14.12%    573,654 psi

IHNC-W-2+001          6      56,136 psi   89,318 psi     8.93%     1,000,201 psi

IHNC-W-2+001          6      56,813 psi   83,863 psi     5.18%     1,618,977 psi

    IHNC-E            4      46,000 psi   74,000 psi     19.9%     371,859 psi

    IHNC-E            4      55,000 psi   77,000 psi      8.1%     950,617 psi

    IHNC-E            7      65,833 psi   105,166 psi    10.58%    994,008 psi

    IHNC-E            7      64,166 psi   102,606 psi    11.56%    888,114 psi


Note 1. Speciman failed at weld




      Source:IPET:V-App.16




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weld failures), resulting in failure moduli of 372 to 1,619 ksi (870 ksi ave. and 723 ksi
without weld failure).


Sheetpile Steel


       The tensile properties determined from tests on steel specimen cut from the web
of the sheetpile are summarized in Table 2.3. The web specimen tested were almost
1.5 in. wide with measured thicknesses of 0.321 to 0.358 in. (0.348 in. ave. of 4 tests)
with a variation of about 1/32 in. For the 4 tensile tests conducted, the yield and tensile
strengths were from 52 to 61 ksi (55 ksi ave.) and 79 to 90 ksi (83 ksi ave.),
respectively. All steel specimens tested exhibited strain softening followed by strain
hardening to ultimate failure. Elongation strains at failure were from 15.0 to 16.6%
(15.9% ave.), resulting in failure moduli from 492 to 568 ksi (522 ksi ave.).

2.5 ING4727 Barge Characteristics


The information provided in the section was taken from three sources:


       • Investigative Report: Grounding of Hopper Barge ING 4727, USCG MISILE
          Incident Investigation Activity Number 2516389, 15 pp, (LNA 001361-
          LNA001375).


       • Report on Investigation into the Circumstances Surrounding the Incident
          Including Hurricane Katrina ING 4727/Breakaway-Grounding on 08/29/05,
          United States Coast Guard, 13 pp, (LNA001376 – LNA 001388).


       • Hydrodynamic Forces and Overtopping Analysis, Resio, D.T., and Dean,
          R.G., IPET, MMTF 00038-06, pp 70-97.




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TABLE 2.3 RESULTS FROM TENSILE TESTS ON WEB STEEL SPECIMEN I-WALL
          SHEETPILE ALONG IHNC


   SAMPLE             YIELD       TENSILE       FAILURE        FAILURE
  LOCATION         STRENGTH      STRENGTH       STRAIN        MODULUS
   IHNC-W           51,953 psi    81,835 psi     16.25%       503,900 psi
   IHNC-W           61,100 psi   89,943 psi      15.83%       568,180 psi
    IHNC-E          53,995 psi   78,833 psi      15.0%        523,553 psi
    IHNC-E          52,408 psi   81,502 psi      16.57%       491,865 psi


Source: IPET:V-App. 16




                                    2-33
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      The hopper barge owned by the Ingram Barge Co., ING 4727, was being used
by LaForge, N.A., and was moored at a wharf on the west side of the IHNC before it
broke loose in the IHNC. It was the only vessel loose during the hurricane between the
IHNC lock and the lowered Florida St. Bridge. At this time, it was empty. A photograph
showing where the barge was moored is shown in Figure 2.15.


      The ING 4727 Barge was built in 1990 and is reported to have a gross tonnage
(GRT) and net tonnage (NRT) of 705. Other characteristics of the subject vessel are
given below.


      Barge Length = 200 ft
      Barge Width = 35 ft
      Barge Height = 23 ft
      Loaded Draft = 10 ft
      Unloaded Draft = 1.5 ft


      The barge dimensions are provided in Figure 2.16.




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                 Location of ING 4727 Barge Prior to Breakaway




FIGURE 2.15 AERIAL PHOTOGRAPH SHOWING WHERE THE LOCATION OF THE
            ING 4727 BARGE WAS MOORED IMMEDIATELY PRIOR TO
            HURICANE KATRINA Photo from hard drive obtained from Brian A. Gilbert,
            Esq., Law Office of Brian A. Gilbert, P.L.C. by the USA, location of photo:
            Ingram Barge/KC 764 Part A/Katrina Photos/9th Ward Barge and Levee
            Photos, September 2005. (Hydrodynamic Forces and Overtopping Analysis,
            Resio, D.T., and Dean, R.G., IPET, MMTF 00038-06, pp 70-97). (*E. Busch
            statement dated October 31, 2005; E. Smith deposition transcript dated
            November 14, 2006; E. Thigpen Court testimony transcript dated June 5, 2007)




                                          2-35
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FIGURE 2.16 MEASURED DIMENSIONS OF THE ING 4727 BARGE (Hydrodynamic
           Forces and Overtopping Analysis, Resio, D.T., and Dean, R.G., IPET,
           MMTF 00038-06, pp 70-97).




                                     2-36
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3.0 ASSOCIATED BREACH CONDITIONS
3.1 General


       This section provides a summary of available information concerning conditions
related to the storm and to the subject breaches. This includes wind conditions, surge
levels, wave condition, and timing of the floodwall failures.


       Reported events and observations related to flooding, wave conditions, impact-
like sounds, ground vibration phenomena and ING4727 barge movement have been
compiled in Table 3.1. The sources for the information in Table 3.1 are provided in the
table but are generally from fact depositions/transcripts, 911 calls, as well as the IPET
and The Team Louisiana Reports. A location map is provided in Figure 3.1 of the points
of observation or information provided in Table 3.1.


3.2 Wind Speed and Direction


       Simulation of wind speed and direction, in addition to water surface elevations
across the New Orleans area, are provided by Westerink, et. al, 2006. These wind
simulations were adjusted for a Planetary Boundary Layer. Hour to hour snapshots of
results from 5:00 am to 12:00 pm are provided in Figure 3.2. Note that no map is given
for prior to 5:00 am except at 2:00 am. However, at the New Orleans Airport, wind
speed and direction records were available to about 7:00 am on August 29, 2005 (see
Figure 3.3).


       Based on the airport records between 3 to 4 am, winds were generally coming
out of the NNE with sustained speeds of about 45 to 50 mph and gusts on the order 10
to 20 mph higher and reaching 85 mph. During the 4 to 5 am time period at a similar
wind direction, wind speeds increased to about 50-55 mph with gusts about 20-25 mph
over the sustained winds and a maximum of 76 mph recorded.


       Examining Figure 3.2, the wind direction at the airport and the IHNC breach sites



                                            3-1
                                                                                                                        Case 2:05-cv-04182-SRD-JCW Document 20405-37 Filed 08/30/11 Page 10 of 19

  TABLE 3.1 REPORTED EVENTS AND OBSERVATIONS

                                     Event Time/Location                                                     Flooding and Direction Description                             Wave Description              Ground or House Shaking                        Sound                                           Barge Movement                                                       Source
                                                             Particular
  Map
             Date        Timing         Visibility   Where    Street      UTM NAD 1983                                   Water Level                                  Description, Size and direction     Description and Direction      Description, Direction and Frequency                        Description and Direction                     Type                 Source & Document Combined
Location
                                                              names
                                                              north of                   "0745 on clock 6 ft off ground in highest house in neighborhood at Reynes                                                                                                                                                                                        Team Louisiana - ackn, refs, appx.pdf, Page 25
  20       29-Aug-05    7:45 AM                      L9W                                                                                                                                                                                                                                                                                           SC
                                                             Claiborne                   (clock 26) north of Claiborne."
                                                               1022                      House flooded. Roof caved in.
  26       29-Aug-05    6:53 AM                      L9W                                                                                                                                                                                                                                                                                                  911 Taped Calls of Allison Berryhill
                                                             Deslonde                                                                                                                                                                                                                                                                              PM
                                                               1118                      Waist deep water in house.
  38       29-Aug-05    7:30 AM                      L9W                                                                                                                                                                                                                                                                                                  911 Taped Calls of Timothy King
                                                              Reynes                                                                                                                                                                                                                                                                               PM
                                                               1310                      Water 15 feet. People on 2nd story. About 5 feet before under water.
  33       29-Aug-05    7:18 AM                      L9W      Reynes                                                                                                                                                                                                                                                                                      911 Taped Calls of Sidney Washington
                                                              Street                                                                                                                                                                                                                                                                               PM
                                                                                         House flooded. Water waist high.
  31       29-Aug-05    7:13 AM                      L9W     1419 Andry                                                                                                                                                                                                                                                                                   911 Taped Calls of Christopher
                                                                                                                                                                                                                                                                                                                                                   PM
                                                               1605                      “the water was up to the steps, it was to the door on the van" "You could                                                                                                                                                                                        Dakeia Johnson deposition on February 9, 2008 Page 44,
                       6:00 - 6:30
   5       29-Aug-05                                 L9W      Jourdan                    see the current pushing from the Industrial Canal coming from Jourdan                                                                                                                                                                                     EW     lines 8-10, Page 46, lines 19-21
                           AM
                                                                Ave                      Ave.”
                                                                                                                                                                                                                                      "I heard a boom in the inside of my                                                                                 Ronald McGill deposition on January 16, 2008 Page 49,
                                                               1638
                                                                                                                                                                                                                                      house""“Boom” was not like a transformer                                                                            lines 14-15, Page 60, line 7, Page 70, lines 16-17
   9       29-Aug-05       ?              dark       L9W      Reynes                                                                                                                                                                                                                                                                               EW
                                                                                                                                                                                                                                      blowing""Sounded like barge hitting wall"
                                                              Street
                                                               1720                      "House started floating toward Derbigny Street (south)." "water just rised                                                                   "heard a bang, a big old loud sound, heard                                                                          Sidney Williams deposition on February 19, 2008 Page 41,
  10       29-Aug-05    3:30 AM                              Tennessee                   in seconds. We was in water – houses went to floating off" (10 - 15 min.                                                                     two more bangs""Few seconds between                                                                          EW     lines 6-15, Page 46, lines 3-12, Page 58, lines 21-25, Page
                                                               Street                    after booms)                                                                                                                                 loud sounds"                                                                                                        51, lines 3-5
                                                                                                                                                                                                                                                                                     "when I heard the first bang we got on the roof. I looked            Sidney Williams deposition on February 19, 2009 Page 41,
                                                               1720                                                                                                                                                                                                                  around. That’s when I seen the barge hit the wall,                   lines 6-15, Page 45, lines 18-21
  10       29-Aug-05    3:30 AM                      L9W     Tennessee                                                                                                                                                                                                               bounced off – the water was real rough – and it hit the       EW
                                                               Street                                                                                                                                                                                                                wall again.” "I can see that barge in that canal doing this
                                                                                                                                                                                                                                                                                     here, boom, slamming up agains
                                                                                                                                                                                                                                                                                     "Didn’t see the barge knock down the wall." Noted barge              Sidney Williams deposition on February 19, 2010 Page 51,
                                                               1720                                                                                                                                                                                                                  was a “rusty” color." “It came in on an angle. The front             lines 17-19, Page 52, line 15, Page 53, lines 12-14, Page
  10       29-Aug-05    3:30 AM                      L9W     Tennessee                                                                                                                                                                                                               of the barge. It might have been the back of the barge. It    EW     55, lines 11-12
                                                               Street                                                                                                                                                                                                                wasn’t the side of the barge.” “I did not see the barge go
                                                                                                                                                                                                                                                                                     over. I seen the barge
                                                                                                                                                                                                                                                                                     "That’s when we seen the barge out there like it was                 Sidney Williams transcription on March 20, 2006 Exhibit
                                                               1720                                                                                                                                                                                                                  over the wall, you know. We didn’t know it had done                  #5, Page 3
  10       29-Aug-05    6:00 AM                      L9W     Tennessee                                                                                                                                                                                                               broke the wall. That’s what they said, you know. It didn’t,
                                                               Street                                                                                                                                                                                                                to me (laughing), it sounded more like they blew the
                                                                                                                                                                                                                                                                                     wall, and that wasn’t the worst part
                                                                                                                                                                                                                                      While outside to hookup generator “heard                                                                            Arthur Murph Jr deposition on December 17, 2008, and
                                                               1739
                                                                                                                                                                                                                                      some noises” "scraping sound" "rubbing                                                                              transcription on January 25, 2006 Page 43, line 24, Page 5
   2         TNV          TNV                        L9W      Jourdan                                                                                                                                                                                                                                                                              EW
                                                                                                                                                                                                                                      and banging" After "heard a big “boom”
                                                              Avenue
                                                                                                                                                                                                                                      sound, you know boom"
                                                                                                                                                                                                                                                                                     "I saw the barge. It looked like a whole block of steel              Arthur Murph Jr transcription on January 25, 2006 Page 8
                                                               1739                                                                                                                                                                                                                  coming at me” … “It was wiping houses out, it was riding
   2         TNV          TNV                        L9W      Jourdan                                                                                                                                                                                                                sideways. And I couldn’t see the levee, but I know if the     EW
                                                              Avenue                                                                                                                                                                                                                 barge was coming in there, it done walked through …
                                                                                                                                                                                                                                                                                     that’s what bust that levee.”
                                                                                                                                                                                                                                                                                      “The water was not overrunning the levee, and the                   Arthur Murph Jr transcription on January 25, 2006 Page 15
                                                                                                                                                                                                                                                                                     barge came from the other side, by Lafarge concrete,
                                                               1739
                                                                                                                                                                                                                                                                                     and broke through that wall, and wiped these people’s
   2         TNV          TNV                        L9W      Jourdan                                                                                                                                                                                                                                                                              EW
                                                                                                                                                                                                                                                                                     houses out, and landed on mine” "I saw this barge and it
                                                              Avenue
                                                                                                                                                                                                                                                                                     had done been through the levee then” “I

                                                                                                                                                                                                                                                                                     "RJG: And you think, I mean it looks like it probably                Arthur Murph Jr transcription on January 25, 2007 Page 7
                                                                                                                                                                                                                                                                                     broke that wall that’s on top … and that’s …AM: No
                                                               1739
                                                                                                                                                                                                                                                                                     ‘probably’ my ass, it …RJG: It did …AM: It busted that
   2         TNV          TNV                        L9W      Jourdan                                                                                                                                                                                                                                                                              EW
                                                                                                                                                                                                                                                                                     wall. Yeah. And that’s what allowed … And that water
                                                              Avenue
                                                                                                                                                                                                                                                                                     came through too quick,”

                                                               1739                      "water in the house" "coming in slow" ". Floor is only about 6 in. above                                                                                                                                                                                         Arthur Murph Jr deposition on December 17, 2008 Page
   2         TNV          TNV                        L9W      Jourdan                    ground" "Water started to come down the street" "A lot of water coming.”                                                                                                                                                                                  EW     53, lines 22-24, 13-17, Page 55, lines 5-7, Page 49, lines
                                                              Avenue                     … “it was coming fast" “North, I guess"                                                                                                                                                                                                                          19 and 22, Page 48, lines 18, 21 and 23-24
                                                               1739                                                                                                                                                                   "Heard the boom once and water came                                                                                 Arthur Murph Jr deposition on December 17, 2008 Page
   2         TNV          TNV                        L9W      Jourdan                                                                                                                                                                 immediately afterwards from the north"                                                                       EW     193, lines 16-17 and 21-24
                                                              Avenue                                                                                                                                                                  "from the direction of the canal"
                                                                                                                                                                                                                                                                                     "Was in the attic, saw barge sitting on the front of his             Arthur Murph Jr deposition on December 17, 2008 Page
                                                                                                                                                                                                                                                                                     house from hole in roof" "The wind was blowing hard."                59, line 25, page 60, lines 1-4, 8, 10, 18-20 and 12-17,
                                                               1739
                                                                                                                                                                                                                                                                                     "It was dark when he first saw the barge on house." "The             Page 61, lines 9-10, Page 150, lines 12-13
   2         TNV          TNV           still dark   L9W      Jourdan                                                                                                                                                                                                                                                                              EW
                                                                                                                                                                                                                                                                                     barge was about 20 ft away." "Never saw the barge
                                                              Avenue
                                                                                                                                                                                                                                                                                     moving."

                                                                                                                                                                                                                                      "sounded like an explosion," In reference to                                                                        Carolyn Berryhille deposition on December 13, 2007 Page
                                                               1838
   3       29-Aug-05    5:30 AM         real dark    L9W                                                                                                                                                                              the “grinding”. “It was way afterward when                                                                   EW     57, lines 12-16, Page 40, lines 6-7, 15-16
                                                             Deslonde
                                                                                                                                                                                                                                      we heard the explosion"
                                                                                                                                                                                                                                                                                      On government form dated March 14, 2007 stated “At                  Carolyn Berryhille deposition on December 13, 2007 Page
                                                               1838                                                                                                                                                                                                                  about 5:30 a.m. a barge came through the wall causing                90, lines 21-25.
   3       29-Aug-05    5:30 AM         real dark    L9W                                                                                                                                                                                                                                                                                           EW
                                                             Deslonde                                                                                                                                                                                                                people who didn’t have a way out to be caught in the
                                                                                                                                                                                                                                                                                     floodwater like myself.”
                                                               1838                      "water just rushed in on us"                                                                                                                 "About 5 minutes after the grinding sound                                                                           Carolyn Berryhille deposition on December 13, 2007 Page
   3       29-Aug-05    5:45 AM         real dark    L9W
                                                             Deslonde                                                                                                                                                                 started to experience water "                                                                                       37, lines 1,3-4 and 6, Page 105, lines 19-20.




                                                                                                                                                                                                 1 of 4
                                                                                                                           Case 2:05-cv-04182-SRD-JCW Document 20405-37 Filed 08/30/11 Page 11 of 19

  TABLE 3.1 REPORTED EVENTS AND OBSERVATIONS

                                     Event Time/Location                                                        Flooding and Direction Description                                     Wave Description                     Ground or House Shaking                             Sound                                         Barge Movement                                                       Source
                                                             Particular
  Map
             Date        Timing         Visibility   Where    Street       UTM NAD 1983                                       Water Level                                        Description, Size and direction             Description and Direction          Description, Direction and Frequency                      Description and Direction                    Type                   Source & Document Combined
Location
                                                              names
                                                                                                                                                                                                                                                             "20 minutes after the grinding we heard “a                                                                         Carolyn Berryhille deposition on December 13, 2007 Page
                                                               1838
   3       29-Aug-05    5:45 AM         real dark    L9W                                                                                                                                                                                                     big old boom” "                                                                                           EW       108, lines 12-16, Page 105, lines 19-20, Page 106, lines 21-
                                                             Deslonde
                                                                                                                                                                                                                                                                                                                                                                                23
                                                               1838                       "the part of the house they were standing in broke loose and floated away,                                                                                                                                                                                                            Carolyn Berryhille deposition on December 13, 2007 Page
   3       29-Aug-05    7:00 AM                      L9W                                                                                                                                                                                                                                                                                                               EW
                                                             Deslonde                     " "houses was running into each other "                                                                                                                                                                                                                                               47, lines 20-23_
                                                                                                                                                                                                                                                                                                           When she saw barge at 8 am and later from Clairborne                 Carolyn Berryhille deposition on December 13, 2007 Page
                                                                                                                                                                                                                                                                                                           Bridge it was in the same place. Did not see it hit the              113, lines 14-19, 25, Page 54, lines 10-11, Page 54, lines
                                                               1838                                                                                                                                                                                                                                        wall or go through it. “The barge was between—the                    20-21, Page 87, lines 24-24 and page 88, lines 1-2, Page
   3       29-Aug-05    8:00AM                       L9W                                                                                                                                                                                                                                                                                                               EW
                                                             Deslonde                                                                                                                                                                                                                                      barge was on Jourdan Avenue” “So it looked like it was               88, lines 13-17, Page 88, lines 13-17
                                                                                                                                                                                                                                                                                                           moving, that’s why I kept saying that’s

                                                                1921                      Calling for friends trapped in attic. Water in attic.
  32       29-Aug-05    7:18 AM                      L9W                                                                                                                                                                                                                                                                                                                        911 Taped Calls of Johnny Murray for James Washington
                                                               Tupelo                                                                                                                                                                                                                                                                                                  PM
                                                                                          Water up to roof
                                                             2025 Caffin
  35       29-Aug-05    7:55 AM                      L9W                                                                                                                                                                                                                                                                                                                        911 Taped Calls of Issac Holmes
                                                               Avenue
                                                                                                                                                                                                                                                                                                                                                                       PM
                                                                                          "saw the water" after second boom                                                                                               "they heard a big old boom and "heard a big old boom" "they heard another                                                                             Damond Peters deposition on April 4, 2008 Page 31, lines
                                                                                                                                                                                                                                                                                                                                                                      PM by
                                                               2139                                                                                                                                                       it shook the, it shook the      boom, sounded like an explosion" "And the                                                                             6-7_Page19-23, Page 35, lines 13-14, 18-21 and 6-8, Page
   4       29-Aug-05    5:30 AM                      L9W                                                                                                                                                                                                                                                                                                              Patrina
                                                             Lamanche                                                                                                                                                     house" "house was shaking for second one probably like a half hour."(6:00                                                                             36, lines 21-24
                                                                                                                                                                                                                                                                                                                                                                      Peters
                                                                                                                                                                                                                          15 minutes"                     AM)
                                                                                                                                                                                                                          "And when I heard the boom," "It sounded like an explosion, like dynamite,                                                                            Patrina Peters deposition on April 8, 2008 Page 44, lines
                                                                                                                                                                                                                          "then the house started         that it was bombed""within about ten                                                                                  13-14, Page 61, lines 6-8, Page 61, lines 16-25 and page
                                                                                                                                                                                                                          shaking," "it lasted maybe five minutes or so within that time, I heard the                                                                           62, lines 1-14, Page 67, line 25 and page 68, lines 1-3
                                                               2139                                                                                                                                                       minutes or so" "it shook        boom again"
   4       29-Aug-05    5:30 AM                      L9W                                                                                                                                                                                                                                                                                                               EW
                                                             Lamanche                                                                                                                                                     everything, like the house was
                                                                                                                                                                                                                          shaking. It was like an
                                                                                                                                                                                                                          earthquake" "throwing us
                                                                                                                                                                                                                          around the room"
                                                                                          "Everything was underwater, the houses"“It was coming from behind,                                                                                                                                                                                                                    Patrina Peters deposition on April 8, 2008 Page 78, lines
                                                               2139
   4       29-Aug-05    5:45 AM                      L9W                                  behind (indicating), which is Jourdan coming this way going, from Jourdan                                                                                                                                                                                                    EW       10-11, Page 101, lines 24-25 and page 102, lines 1-2
                                                             Lamanche
                                                                                          Avenue going to Chalmette.”
                                                                                          "Water started rising”                                                                                                          "the noise and the shaking of      "The noise “was a big boom”" “towards the                                                                          Dakeia Johnson deposition on April 9, 2008 Page 35, line
                                                                                                                                                                                                                          the house" "House shaking the      Industrial Canal” “That’s what basically                                                                           21, Page 35, lines 15-16 and 18-19 ,Page 36, lines 2-3 and
                       6:00 - 6:30                             2139                                                                                                                                                       first time, two or three minutes   woke me up a little, the boom. Then the                                                                            5-6, Page 37, line 23
   4       29-Aug-05                                 L9W                                                                                                                                                                                                                                                                                                               EW
                           AM                                Lamanche                                                                                                                                                     each time, shuddering and          second boom came right behind it, which
                                                                                                                                                                                                                          swaying"                           actually threw me out of the bed, that woke
                                                                                                                                                                                                                                                             me up all together.”
                                                               2301                       Relatives(6) stuck in attic
  29       29-Aug-05    7:07 AM                      L9W                                                                                                                                                                                                                                                                                                                        911 Taped Calls of Andy
                                                             Tennessee                                                                                                                                                                                                                                                                                                 PM
                                                               2301                       Calling for family stuck in attic/flooded.
  29       29-Aug-05    7:46 AM                      L9W                                                                                                                                                                                                                                                                                                                        911 Taped Calls of Chiquita Harris (?)
                                                             Tennessee                                                                                                                                                                                                                                                                                                 PM
                                                                                          "water was already in the house" water was "just below her calf"                about a good minute later "big old wave. I                                                                                                                                                            D'Antoinette Johnson deposition on December 11, 2007
                                                                                                                                                                          know it was tall. I would say at least, and I                                                                                                                                                         Page 30, lines 17-20 and 24-25, Page 12-14
                                        sun was
                                                               2317                                                                                                       am not over-exaggerating, at least 15 or 20
   6       29-Aug-05    6:00 AM         breaking     L9W                                                                                                                                                                                                                                                                                                               EW
                                                             Deslonde                                                                                                     feet"“It was coming towards me. It was
                                        in there
                                                                                                                                                                          coming, going towards St. Bernard Parish,
                                                                                                                                                                          Chalmette.”
                                                                                          "water was like right here to the roof" "It rose to the middle area of the                                                                                                                                                                                                            D'Antoinette Johnson deposition on December 11, 2007
                                                               2317                       roof and it just stopped rising at that point" "Because like I’m telling you,                                                                                                                                                                                                         Page 40, lines 18, 20-21, Page 43, lines 18-21,Page 107,
   6       29-Aug-05    6:45 AM         daylight     L9W                                                                                                                                                                                                                                                                                                               EW
                                                             Deslonde                     really and truly the water was coming from the Industrial Canal way. It                                                                                                                                                                                                               lines 15-18
                                                                                          wasn’t coming from the side.”
                                                                                                                                                                                                                          "house was shaking real hard, “Angelica said she heard something.” “She                                                                               Kendrick Ray Pounds deposition on December 11, 2007
                                                                                                                                                                                                                          like an earthquake was coming" said she heard a boom.” “Dwight said he                                                                                Page 28, lines 19-23, Page 24, lines 20-22, Page 129,
                                                               2317                                                                                                                                                       shortly after that when Kevin  heard a boom.” “He said he heard it in his                                                                             lines 21, 23, Page 132, line 6, Page 132, lines 13-15
   6       29-Aug-05    5:50 AM        nighttime     L9W     Deslonde                                                                                                                                                     Ray Pounds first looked out:   sleep, but he said he ain’t really paid, you                                                                  EW
                                                                St                                                                                                                                                        “when I first looked out, the  know, no mind to nothing.”
                                                                                                                                                                                                                          water was coming"

                                                               2317                       "water started coming over that wall ""water was still rising. The water was                                                                                                                                                                                                          Kendrick Ray Pounds deposition on December 11, 2007
                                        sun was
   6       29-Aug-05    5:58 AM                      L9W     Deslonde                     almost to the attic window" "it looked like a lake outside"                                                                                                                                                                                                                  EW       Page 30, lines 21-25 and page 31, lines 1-2, Page 23, line
                                       coming up
                                                                St                                                                                                                                                                                                                                                                                                              13
                                                               2414                       In attic. House floated to Arabi.
  37       29-Aug-05    7:28 AM                      L9W                                                                                                                                                                                                                                                                                                                        911 Taped Calls of Ms. Green
                                                              Tupelo                                                                                                                                                                                                                                                                                                   PM
                                                               2418                       In attic - water up to ceiling
  28       29-Aug-05    7:01 AM                      L9W                                                                                                                                                                                                                                                                                                                        911 Taped Calls of Raymond Winfield
                                                             Lamanche                                                                                                                                                                                                                                                                                                  PM
                                                                                          Flooded/drifted
  35       29-Aug-05    7:28 AM                      L9W     2505 Caffin                                                                                                                                                                                                                                                                                                        911 Taped Calls of Issac Holmes
                                                                                                                                                                                                                                                                                                                                                                       PM
                                                               2523                       ON roof/water at waist.
  34       29-Aug-05    7:18 AM                      L9W                                                                                                                                                                                                                                                                                                                        911 Taped Calls of Arcloa Sutton
                                                              Jourdan                                                                                                                                                                                                                                                                                                  PM
                                                               2544                       IN attic. Almost to attic. Water rising(near Jackson Barracks).
  40       29-Aug-05    7:37 AM                      L9W                                                                                                                                                                                                                                                                                                                        911 Taped Calls of Patricia Ann Collins
                                                              Dubreuil                                                                                                                                                                                                                                                                                                 PM
                                                                                                                                                                                                                                                                                                           "When I looked toward the Clairborne Bridge " "When I                Terry Mark Adams deposition on November,13, 2006 Page
                                                                                                                                                                                                                                                                                                           heard the bang I seen the barge come floating through.               25, lines 6-14
                                                               2604
  11       29-Aug-05    7:00 AM                      L9W                                                                                                                                                                                                                                                   After the barge came through the water came through,        EW
                                                             Deslonde
                                                                                                                                                                                                                                                                                                           like the water must have rose about 12 feet in seconds.”




                                                                                                                                                                                                             2 of 4
                                                                                                                             Case 2:05-cv-04182-SRD-JCW Document 20405-37 Filed 08/30/11 Page 12 of 19

  TABLE 3.1 REPORTED EVENTS AND OBSERVATIONS

                                     Event Time/Location                                                            Flooding and Direction Description                                      Wave Description               Ground or House Shaking                         Sound                                             Barge Movement                                                       Source
                                                             Particular
  Map
             Date        Timing         Visibility   Where    Street        UTM NAD 1983                                           Water Level                                       Description, Size and direction       Description and Direction      Description, Direction and Frequency                          Description and Direction                    Type                    Source & Document Combined
Location
                                                              names
                                                                                                                                                                                                                                                                                                        "The house lifted off the foundation when “the barge                   Terry Mark Adams deposition on November,13, 2009 Page
                                                                                                                                                                                                                                                                                                        came through and sent water everywhere. Not only did                   99, lines 21-25, Page 101, lines 2-3, Page 101, lines 5-14,
                                                               2604
  11       29-Aug-05    7:00 AM                      L9W                                                                                                                                                                                                                                                my house lift up, but the other portion of the levee gave     EW       Page 101, Page 109, lines 12-13 and 15
                                                             Deslonde
                                                                                                                                                                                                                                                                                                        away because the water came from both sides and it
                                                                                                                                                                                                                                                                                                        tilted it all the way over." “When the b
                                                                                              “I’d say somewhere between 5:30 and 6:00 the levee right by my house,                                                                                                                                                                                                            Terry Mark Adams deposition on November,13, 2007 Page
                                         wasn’t
                       5:30 - 5:45                             2604                           the water was kind of like coming under it. I could see that. And a little                                                                                                                                                                                                       23, lines 24-25, and page 24, lines 1-4 and 13-14, Page
  11       29-Aug-05                     quite       L9W                                                                                                                                                                                                                                                                                                              EW
                           AM                                Deslonde                         over it. But the levee was still there. The rest of the levee was totally                                                                                                                                                                                                        25, lines 2-3
                                        daylight
                                                                                              intact.” The flood wall: “it was st
                                                                                                                                                                                                                                                                                                        The break in the wall towards Florida: “I wouldn’t                     Terry Mark Adams deposition on November,13, 2007 Page
                                         wasn’t                                                                                                                                                                                                                                                         consider that to be a break. After the wall - - after the              38, lines 13-15 and lines 18-20
                       5:30 - 6:00                             2604
  11       29-Aug-05                     quite       L9W                                                                                                                                                                                                                                                barge came through the wall by me gave. It slowly just        EW
                           AM                                Deslonde
                                        daylight                                                                                                                                                                                                                                                        collapsed” "and the water was flowing down that way
                                                                                                                                                                                                                                                                                                        from the break in the wall."
                                                                                                                                                                                                                                                                                                        "That’s what made me realize that it was a barge, the                  Terry Mark Adams deposition on November,13, 2008 Page
                                         wasn’t                                                                                                                                                                                                                                                         sound of it.” “It looked like it was about Galvez Street,              80, lines 6-9 and 16-18, Page 81, lines 7-9 and 21-22,
                       5:45 - 6:00                             2604
  11       29-Aug-05                     quite       L9W                                                                                                                                                                                                                                                Galvez and Johnson. Right up in that area.” “it was           EW       Page 82, lines 7-9
                           AM                                Deslonde
                                        daylight                                                                                                                                                                                                                                                        leaning like this (indicating) where I could see the front
                                                                                                                                                                                                                                                                                                        of it, but I couldn’t see the wh
                                                              4702 St.                        Water up to bed
  27       29-Aug-05    7:00 AM                      L9W                                                                                                                                                                                                                                                                                                                       911 Taped Calls of Bianca Knight
                                                               Claude                                                                                                                                                                                                                                                                                                 PM
                                                                                              After boom “walk toward Jourdan Street, toward Jourdan Avenue, and                                                                                       “We just heard a big boom"                                                                                              Earl Lackings deposition on April 9, 2008 Page 61, lines 13-
                                                             5017 North                       then walked back" "water was coming all in the car" about five, ten                                                                                                                                                                                                              18, Page 66, lines 10-14, Page 63, lines 1-4, Page 64,
   8       29-Aug-05       ?              dark       L9W                                                                                                                                                                                                                                                                                                              EW
                                                             Miro Street                      minutes later" “You can see the water coming down Reynes Street.”                                                                                                                                                                                                                lines 17-18, 21-22, 25 and page 65, line 13, Page 59, lines
                                                                                              "Water was something like coming down Tonti down Reyne                                                                                                                                                                                                                           8 and 18, Page 60, lines 6-9
                                                                                              “It sound like I heard it hit something hard. Boom. By then I stand by the                                                                               "loud crash back, you know, back there by                                                                               Andrew Sartin deposition on April 11, 2008 Page 44, line
                                                                                              gate. When I looked at the gate, here it come.” “Water coming. A lot of it.”                                                                             scrap I heard, like something hit " "Time                                                                               25 and page 45, lines 1-2,Page 51, lines 17-20, Page 45,
                                                                                              … “From Jourdan.” … “It came straight down Roman Street.” "Water came                                                                                    between first and second noises: “You’re                                                                                line 25 and page 46, lines 1-2, Page 47, line 5, Page 50,
                                        turning               5428 N.
   1       29-Aug-05    6:30 AM                      L9W                                      more slowly at first to about 3 f                                                                                                                        talking about, I say, five, ten minutes apart,                                                                 EW       lines 20-25 and page 51, line 1, Page 52, lines 10-12,
                                        daylight              Roman
                                                                                                                                                                                                                                                       fifteen minutes. It was just - - it wasn’t no                                                                           Page 54, lines 8-14, 16, 18 and 21, Page 50, lines 3-4,
                                                                                                                                                                                                                                                       long time. It wasn’t no long time. I                                                                                    Page 47, lines

                                                              5432 N.                         Water up to ceiling. Still rising.
  43       29-Aug-05    8:03 AM                      L9W                                                                                                                                                                                                                                                                                                                       911 Taped Calls of Tonette Taylor - Clarence Smith
                                                              Rampart                                                                                                                                                                                                                                                                                                 PM
                                                                                              "the water came in" In a matter of seconds after noise “we had water" It                                                                                 "I heard boom, boom, boom" "like                                                                                        Dolores St. Cyr-butler deposition on February 19, 2008
                                                              5434 N.                         was a “matter of minutes” to when they were in the attic after seeing the                                                                                something was hitting something real hard"                                                                              Page 32, lines 7-12, Page 34, lines 15-17, Page 33, lines 7-
   7       29-Aug-05       ?              dark       L9W      Johnson                         water, with the water rising to about 6’ from the attic in that time.                                                                                    Estimates booms came from the direction of                                                                     EW       8, 10, 13, Page 122, lines 8-11, Page 122, line 25 and
                                                               Street                                                                                                                                                                                  Jourdan Ave, did not sound like explosions.                                                                             page 123, lines 1-3, Page 37, line 13,Page 38, lines 8-13
                                                                                                                                                                                                                                                                                                                                                                               and 20-24
                                                               5601                           Flooding
  41       29-Aug-05    7:42 AM                      L9W                                                                                                                                                                                                                                                                                                                       911 Taped Calls of Rene Longoin
                                                             Burgundy                                                                                                                                                                                                                                                                                                 PM
                                                               5601                           Flooding 2nd call
  41       29-Aug-05    8:02 AM                      L9W                                                                                                                                                                                                                                                                                                                       911 Taped Calls of Rene Longoin (?)
                                                             Burgundy                                                                                                                                                                                                                                                                                                 PM
                                                               6037                           Flooded
  42       29-Aug-05    7:58 AM                      L9W                                                                                                                                                                                                                                                                                                                       911 Taped Calls of Sybil Montrell (?)
                                                             Burgundy                                                                                                                                                                                                                                                                                                 PM
                                                               6225                           Flooded over cars
  36       29-Aug-05    7:27 AM                      L9W                                                                                                                                                                                                                                                                                                                       911 Taped Calls of Murphy Goodman (?)
                                                             Urquhart                                                                                                                                                                                                                                                                                                 PM
                                                              6415 N.                         IN attic - water coming up
  39       29-Aug-05    7:33 AM                      L9W                                                                                                                                                                                                                                                                                                                       911 Taped Calls of Kioka
                                                               Prieur                                                                                                                                                                                                                                                                                                 PM
                                                                939                           Water in house. Lady in wheelchair.
  30       29-Aug-05    7:11 AM                      L9W                                                                                                                                                                                                                                                                                                                       911 Taped Calls of Nelda Simmineaux (?)
                                                             Deslonde                                                                                                                                                                                                                                                                                                 PM
                                                                Bks                           "9-10 feet above the floor of the building, which was at about ground                                                                                                                                                                                                            FINAL Vol IV The Storm - appendices.pdf, IV-7-52
  15       29-Aug-05    9:35 AM                      L9W                   788500/3,317,400                                                                                                                                                                                                                                                                           SC
                                                             Museum                           level."
                                                                                              "water started coming over the wall" "the houses was floating like boats"                                                                                "Because we heard a big old boom, boom.                                                                                 Ernest Offray deposition on February 19, 2008 Page 36,
                                                                                              "after heard the boom" "water rushing up over the wall, where it (the                                                                                    But it was raining so hard we didn’t get out                                                                            lines 2-5 and lines 17-18, Page 42, lines 23-25 and page
                                         almost                Bridge                         barge) had went through"                                                                                                                                 the truck or nothing” parked at Claiborne                                                                               43, lines 1-3, Page 35, lines 21-24, Page 48, lines 15-17
  25       29-Aug-05    6:00 AM                      L9W                                                                                                                                                                                                                                                                                                              EW
                                        daylight               Ramp                                                                                                                                                                                    Bridge. "heard a big old boom, boom. a big
                                                                                                                                                                                                                                                       old explosion, two bangs "

                                                                                              "0824 on grandfather clock at Egania (clock 22) 7 blocks east of Lock                                                                                                                                                                                                            Team Louisiana - ackn, refs, appx.pdf, Page 25
  17       29-Aug-05    8:24 AM                      L9W       Egania                                                                                                                                                                                                                                                                                                 SC
                                                                                              between St. Claude and Claiborne."
                                                               Florida                        "0732 at Florida Ave. (clock 23), 7 blocks east of IHNC on 40 Arpent                                                                                                                                                                                                             Team Louisiana - ackn, refs, appx.pdf, Page 25
  18       29-Aug-05    7:32 AM                      L9W                                                                                                                                                                                                                                                                                                              SC
                                                                Ave.                          Levee"
                                                                                              "Report of water at 0530 to 0600 at Forestall (clock 27), one block east of                                                                                                                                                                                                      Team Louisiana - ackn, refs, appx.pdf, Page 25
  21       29-Aug-05    5:30 AM                      L9W      Forestall                                                                                                                                                                                                                                                                                              reports
                                                                                              Reynes"
                                                                                              "water in the street in front of his home. He said his driveway is about 40ft,                                                                                                                                                                                                   FINAL Vol IV The Storm - appendices.pdf, IV-7-51
  13       29-Aug-05    4:30 AM                      L9W     Galvez St.    788500/3,319,600   and in a matter of 5-10 minutes his freezer was floating in his home."                                                                                                                                                                                                  EW

                                                                                              "he said the water was at the top of the first floor, but it seemed to have                                                                                                                                                                                                      FINAL Vol IV The Storm - appendices.pdf, IV-7-51
                                                                                              stopped rising. He said the water was from the Industrial Canal and
  13       29-Aug-05    5:00 AM                      L9W     Galvez St.    788500/3,319,600                                                                                                                                                                                                                                                                           EW
                                                                                              flowed down Galvez Street, west to east. He said at the maximum, the
                                                                                              water was 25 ft. deep in the street."
                                                              Kenison                                                                                                          "5-8ft wave coming down street" "from the                                                                                                                                                       Volume IV - The Storm, maintext,pdf, IV-7-6
           29-Aug-05    9:00 AM                      17th                  777800/3,324,400                                                                                                                                                                                                                                                                           EW
                                                               Street.                                                                                                         south"
                                                                                              Otley(street?) at 0615 stopped clock at 6:15 AM(WS: Otley at 0615.)                                                                                                                                                                                                              Team Louisiana - ackn, refs, appx.pdf, Page 25
  20       29-Aug-05    6:15 AM                      L9W       Otley                                                                                                                                                                                                                                                                                                  SC
                                                                                              "Another eyewitness at Site 4 reported seeing flood waters at about 1030                                                                                                                                                                                                         Volume IV - The Storm, maintext,pdf, IV-194
                                                                See                           UTC (5:30 a.m. CDT). He and his wife took refuge in a neighbor’s two-
  24       29-Aug-05    5:30 AM                      L9W                                                                                                                                                                                                                                                                                                              EW
                                                              Fig.135                         story house, and he noted that within a short time, the water was about 3
                                                                                              to 4 ft above the second story floor."




                                                                                                                                                                                                                3 of 4
                                                                                                                            Case 2:05-cv-04182-SRD-JCW Document 20405-37 Filed 08/30/11 Page 13 of 19

  TABLE 3.1 REPORTED EVENTS AND OBSERVATIONS

                                        Event Time/Location                                                        Flooding and Direction Description                                     Wave Description                    Ground or House Shaking                        Sound                                             Barge Movement                                                       Source
                                                                Particular
  Map
               Date         Timing         Visibility   Where    Street       UTM NAD 1983                                     Water Level                                          Description, Size and direction           Description and Direction      Description, Direction and Frequency                         Description and Direction                      Type                  Source & Document Combined
Location
                                                                 names
                                                                                                "One eyewitness at Site 3 (Figure 135) reported that shortly after about                                                                                                                                                                                                         Volume IV - The Storm, maintext,pdf, IV-194
                          4:30 - 5:00                              See                          0930 UTC (4:30 a.m. CDT) on Monday he observed water flowing into his
  23        29-Aug-05                                   L9W                                                                                                                                                                                                                                                                                                               EW
                              AM                                 Fig.135                        home, and that by about 1000 UTC (5:00 a.m. CDT) the water was at the
                                                                                                top of his first floor. He stated that the
                                                                                                "One of the operators at PS 5 stated that he first observed flooding at                                                                                                                                                                                                          Volume IV - The Storm, maintext,pdf, IV-194
  22        29-Aug-05      4:30 AM                      L9W     Station 5                       about 0930 UTC (4:30 a.m. CDT) on Monday, and that by 1030 UTC (5:30                                                                                                                                                                                                      EW
                                                                                                a.m. CDT), the water was entering the station."
  22        29-Aug-05      4:30 AM                      L9W     Station 5                       "water was halfway up a chain link fence at the station"                                                                                                                                                                                                                  EW     FINAL Vol IV The Storm - appendices.pdf, IV-7-53
                                                                                                "fence was completely underwater." "power was turned off to the station                                                                                                                                                                                                          FINAL Vol IV The Storm - appendices.pdf, IV-7-53
  22        29-Aug-05      5:30 AM                      L9W     Station 5                                                                                                                                                                                                                                                                                                 EW
                                                                                                for safety due to high water levels."
                                                                                                "It was 6:10 am in morning when Central Control had logged Villavasso’s                                                                                                                                                                                                          William Villavasso deposition on December 18, 2007 Page
  22        29-Aug-05      6:10 AM           dark       L9W     Station 5                                                                                                                                                                                                                                                                                                 EW
                                                                                                call to turn off the power. "                                                                                                                                                                                                                                                    148, lines 8-10
                                                                                                Notified by sta 5 that was notified by supervisor to shut down all
  22        29-Aug-05      6:10 AM                      L9W     Station 5
                                                                                                operations and evacuate station.                                                                                                                                                                                                                                          PM     Central Control Clear Log Book Entries
  22        29-Aug-05      6:11 AM                      L9W     Station 5                       Shut Down all Pumps                                                                                                                                                                                                                                                       PM     Central Control Dirty Log Book Entries
                                                                                                C.C. notified E.O.E to also notify Coast Guard sta 5 also needs picked up.
  22        29-Aug-05      6:17 AM                      L9W     Station 5
                                                                                                                                                                                                                                                                                                                                                                          PM     Central Control Clear Log Book Entries
                                                                                                Sta 5 operator re call for help at for Coast Guard. Coast Guard can not
  22        29-Aug-05      6:25 AM                      L9W     Station 5
                                                                                                get to you. Abandon sta 5.                                                                                                                                                                                                                                                PM     Central Control Clear Log Book Entries
                                                                                                "massive amounts of water pouring through the wall, which a lot of street                                                                                 "I heard the boom, you could see this part of                                                                          William Villavasso deposition on December 18, 2007 Page
                          3:00 AM to                                                            flooding"                                                                                                                                                 the wall tumble down "                                                                                                 68, lines 13-15, Page 64, lines 7-9, 12-16 and lines 18-24,
  22        29-Aug-05                        dark       L9W     Station 5                                                                                                                                                                                                                                                                                                 EW
                           4:00 AM                                                                                                                                                                                                                                                                                                                                               Page 128, lines 16-24, Page 191, lines 6-11, and lines 16-
                                                                                                                                                                                                                                                                                                                                                                                 23
                                                                                                                                                                             "large volume of water traveling down the                                                                                    “It’s getting more intense splashing over the wall. Then I             William Villavasso deposition on December 18, 2007 Page
                                                                                                                                                                             Industrial Canal from the lake toward the                                                                                    heard like an explosion. Boom.”, “And then I seen the                  64, lines 7-9, 12-16 and lines 18-24, Page 129, lines 12-13,
                                                                                                                                                                             river" “I seen a wall of water. When I said 20                                                                               levee wall partially- - sections, it’s – the levee walls are           lines 16-19 and lines 24-25 and page 130, line 1, Page
                          3:00 AM to
  22        29-Aug-05                        dark       L9W     Station 5                                                                                                    feet, I was just estimating that’s what it may                                                                               like in sections. I saw it tumble over (indicating). A          EW     187, lines 1-5, 10-12, and lines 15-18
                           4:00 AM
                                                                                                                                                                             have been. Coming from Southern Scrap                                                                                        couple of sections looked
                                                                                                                                                                             towards the Florida bridge, coming that

                                                                                                                                                                                                                                                                                                          “It looked what appeared to be the tip of a barge.” “I am              William Villavasso deposition on December 18, 2007 Page
                                                                                                                                                                                                                                                                                                          just looking at a silhouette like. Not a clear focused                 66, lines 3-4, Page 66, lines 8-11, Page 71, lines 4-9, Page
                          3:00 AM to
  22        29-Aug-05                        dark       L9W     Station 5                                                                                                                                                                                                                                 picture. But I seen something protruding which I thought        EW     98, lines 14-17
                           4:00 AM
                                                                                                                                                                                                                                                                                                          was seeing a barge there.” "Saw the barge “after the
                                                                                                                                                                                                                                                                                                          wall fell”. “Seconds. Minutes
                                                                                                "he saw water flowing down Tupelo St (SSW) towards the Mississippi                                                                                                                                                                                                               FINAL Vol IV The Storm - appendices.pdf, IV-7-52
                                                                 Tupelo
  16        29-Aug-05      5:30 AM                      L9W                  788900/3,319,200   River with a slight angle to the east. Storm wasn't bad at this time, drizzle                                                                                                                                                                                             EW
                                                                 Street
                                                                                                with some wind, still dark outside"
                                                                                                "0500 on clock 7 ft off ground at Reynes (clock 25) 3 blocks from IHNC                                                                                                                                                                                                           Team Louisiana - ackn, refs, appx.pdf, Page 25
  19        29-Aug-05      5:00 AM                      L9W                                                                                                                                                                                                                                                                                                               SC
                                                                                                just north of Claiborne."
                                                                                                "Residents in a 2-story reported flooding from the east at 0630 and then                                                                                                                                                                                                         Team Louisiana - ackn, refs, appx.pdf, Page 25
  19        29-Aug-05      6:30 AM                      L9W                                                                                                                                                                                                                                                                                                               EW
                                                                                                all hell broke loose at 0750."
                                                                                                "Another eyewitness at Site 2, reported water shooting up through her                                                                                                                                                                                                            Volume IV - The Storm, maintext,pdf, IV-195
                                                                                                floor furnace at about 1230 UTC (7:30 a.m. CDT) on Monday, and that
  12        29-Aug-05      7:30 AM                      L9W                                                                                                                                                                                                                                                                                                               EW
                                                                                                within about 15 min the water was about 9 ft deep in her house. Site 2 is
                                                                                                slightly east of Site 1 and appears to be a
                                                                                                "Various clocks stopped between 0743-0747, corresponds to                                                                                                                                                                                                                        Team Louisiana - ackn, refs, appx.pdf, Page 25
  19        29-Aug-05      7:43 AM                      L9W                                                                                                                                                                                                                                                                                                              SC/EW
                                                                                                observations of National Guard officers at Jackson Barracks"
  20        29-Aug-05      7:45 AM                      L9W                                     "Several clocks close to the breach stopped at 0745"                                                                                                                                                                                                                      SC     Team Louisiana - ackn, refs, appx.pdf, Page 25
                                                                                                "First police calls were received at 0755 and were relayed to Bob Turner                                                                                                                                                                                                         Team Louisiana - ackn, refs, appx.pdf, Page 25
  19        29-Aug-05      7:55 AM                      L9W                                                                                                                                                                                                                                                                                                               PC
                                                                                                who called the NWS at 0810 who reported it at 0817."
  15        29-Aug-05      8:13 AM                      L9W                  788500/3,317,400   "water is already up to the wheels of this vehicle"                                                                                                                                                                                                                      photo   FINAL Vol IV The Storm - appendices.pdf, IV-7-52
                                                                                                "noticed significant water, much more that normal rainfall. Estimated the                                                                                                                                                                                                        FINAL Vol IV The Storm - appendices.pdf, IV-7-51
  15        29-Aug-05      8:30 AM                      L9W                  788500/3,317,400   time to rise from wheels to top of cab of large military transport trucks was                                                                                                                                                                                             EW
                                                                                                about 1-1/2 hrs max."
                                                                                                "At Site C1, two of the clocks indicate a time of about 1015 UTC (5:15                                                                                                                                                                                                           Volume IV - The Storm, maintext,pdf, IV-195
                          5:15 AM to                                                            a.m. CDT), while two other clocks at the same elevation indicate a time of
  11        29-Aug-05                                   L9W                                                                                                                                                                                                                                                                                                               SC
                           6:30 AM                                                              about 1130 UTC (6:30 a.m. CDT). Four other clocks at higher elevations
                                                                                                at Site C1 also indicate a time of abo
                                                                                                "water seemed to pick up his home and turn it around" "water ended            "water was coming from St. Bernard parish
  14        29-Aug-05    about 4 pm,                    L9W                  789300/3,319,500                                                                                                                                                                                                                                                                             EW         FINAL Vol IV The Storm - appendices.pdf, IV-7-50
                                                                                                about 20 ft in the street."                                                   west into Orleans"
                                             way                                                "3ft of water in his home on the
  14        29-Aug-05                       before      L9W                  789300/3,319,500   second floor, about 12 ft deep"                                                                                                                                                                                                                                           EW         FINAL Vol IV The Storm - appendices.pdf, IV-7-50
                                             dark,

           Legend
           Station 5 = Pump Station No. 5, SB = St. Benard Parish, 17th = 17th Street Canal, LS = London Street Canal, L9W = Lower 9th Ward, OE = Orleans East Parish
           PM = Phone Message, EW = Eye Witness, SC = Stopped Clock, PC = Phone Call, TSP = Time Stamped Photo's, TNV = Stated Time Not Valid




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at 5:00 am and 6:00 am appear the same. Moreover, Figure 3.2 shows velocity vectors
(SSE) remained essentially parallel to the southern segment of the IHNC from 5:00 am
to 9:00 am with surge effects from Lake Pontchantrain and MRGO-GIWW Outlet
increasing to 9:00 am and 8:00 am, respectively (which is consistent with IHNC
hydrograph information). Maximum wind speed sustained over a minute provided by
NOAA/AOML/Hurricane Research Division and directions from Figure 3.2 are provided
below for IHNC (south). Where wind speeds were not available from NOAA/AOML,
airport speed records are provided.


                                                    Relative Direction to IHNC
                  Time          Speed (mph)
                                                         (south segment)
                 3:00 am           44 (59)                   Parallel
                 4:00 am              58                     Parallel
                 5:00 am         55 (72) AP                  Parallel
                 6:00 am         58 (82) AP                  Parallel
                 7:00 am              86                     Parallel
                 8:00 am              ND                     Parallel
                 9:00 am              ND                     Parallel
                10:00 am              69                    45E “SE”
                11:00 am              ND                   10E “SEE”
                12:00 pm              ND                   10E “NEE”
             (_)=gusts, AP = airport data


       Airport records from 3:00 am to 4:00 am on the day of the Hurricane indicate that
the wind speed generally increased from about 44 to 52 mph with variable gusts from
10 to 30 mph higher. At 4:00 am, the NOAA/AOML speed of 58 mph was above the
airport speed of 52 mph but lower than the gusts, which were on the order of 80 mph.
From 4:00 am to 5:00, wind speeds ranged from 48 to 56 mph, and gusts of 61 to 76
mph were recorded at the airport. Winds increased again from 5 to 6 am, where airport
winds were about 55 to 60 mph with gusts from 75 to 85 mph, or 20 to 25 mph higher.
Gusts at the airport at close to 7:00 am were the same as NOAA/AOML speed of 86
mph.



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